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                                                                                        FILED
                                                                                     U.S. DISTRICT COURT
                                                                                 EASTERN DISTRICT ARKANSAS

                                                                                        MAR -6 2019
                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS                      JAMES W. Mcl,;AJll{W~
                                                                               By: _ _-+-1+~+--'-~-

UNITED STATES OF AMERICA                      )      No. 4:19CR   00 \{(.Q JfV\
                                              )
v.                                            )
                                              )      18 u.s.c. § 2320, 2
                                              )
                                              )
ANDREW SCOTT PIERSON                          )


                                         INDICTMENT

THE GRAND JURY CHARGES THAT:

                                            COUNT 1

       Beginning in or about 2016 and continuing to on or about December 10, 2018, in the

Eastern District of Arkansas, and elsewhere, the defendant,

                                 ANDREW SCOTT PIERSON,

voluntarily conspired with others known and unknown to the grand jury to intentionally traffic in

goods, that is, Colt firearm parts, and, on and in connection with such goods, knowingly used

counterfeit Colt marks identical to, and substantially indistinguishable from, genuine marks in

use and registered for those goods on the principal register in the United States Patent and

Trademark Office, and the use of such counterfeit marks was likely to cause confusion, to cause

mistake, and to deceive. In furtherance of this conspiracy, in or about May 2017, ten unfinished,

80% complete, AR-15-type firearm lower receivers bearing counterfeit Colt marks were shipped

from California to the Eastern District of Arkansas, in violation of Title 18, United States Code,

Sections 2320(a)(l) and (a)(2), and Title 18, United States Code, Section 2.



                    [END OF TEXT. SIGNATURE PAGE ATTACHED.]


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